Fill in this information to identify the case:

Debtorname Roman Catholic Church of the Archdiocese of Santa Fe

 

United States Bankruptcy Court for the: DISTRICT OF NEW MEXICO

 

Case number (ifknown) 18-13027

 

 

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 

Summary of Assets

Hl Check if this is an
amended filing

12/15

 

1, Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

ja. Real property:

Copy line 88 from Schedule A/Bu..cccsseseensncssccnsesseeteentenseaseetenteeneaseameanesanaeeaeensesoaueensrdccenansseeenseerataneneseaenananenunere

1b, Total personal property:

Copy line 91A from Schedule A/B.........cccceceecteeteerctcercen eens tee eaten eet iene nteenenennonnienenenaenadediensnriarcrirey

1c. Total of all property:

Copy line 92 from SCH@dUIe A/B..c.cesccssecreersnereretinenseseneenessssesenseneceetsusstansenecsaciesneanecseseseneseeneent erates ieayteneeenercees

Summary of Liabilities

2, Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Copy the total dollar amount listed in Column A, Amount of claim, from line 3 Of SCHECUIE Du... seen tee

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:

Copy the total claims from Part 1 from line 5a of Schedule E/F..............s0seseesneersesssnerseeeneeranensanearanensananranesees
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F....... sceneries
fl! Festal TAIRA... cer anerceeneeeecest oceseconense repenenconense reverveniuneaanedesieyadipouniissas'f¢stiaussntemnbiubidaiinhLs ch debe snndtahoasbt edna debi aoe

Lines 2+ 3a+ 3b

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals

$ _37,590,598.00
$___14,748,760.66

$ _ 52,339,358.66

5 0.00
$ 0.00
48 3,751,736.56

 

5 3,751,736.56

 

page 1

Sofware CommahWen peoP soe “"FEIAB Filed 04/01/19 Entered 04/01/19 16:05:23 Paget 6f26"""
Fill in this information to identify the case:

Debtor name

Roman Catholic Church of the Archdiocese of Santa Fe

United States Bankruptcy Court forthe: DISTRICT OF NEW MEXICO

 

Case number (ifknown) 18-13027
MH Check if this is an
amended filing

 

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 7 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Ofticial Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and

 

2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

(ERSEMM List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

I No. Go to Part 2.

O Yes. Go to line 2.

List All Creditors with NONPRIORITY Unsecured Claims
a ” List in alphabetical order all of the creditors with nonpriority unsecured claims, If ihe debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.

Amount of claim

 

 

 

 

 

 

 

34 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. ; Unknown
Candelaria Lopez @ contingent
124 Santa Ana Road Busia;
' Unliquidated
Bernalillo, NM 87004
Oo Disputed
Date(s) debt was incurred 5/2018
Last 4 digits of account number Basis for the claim: Personal injury claim
Is the claim subject to offset? Ml No Ol ves
3.2 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply, Unknown
Catherine Collins i Contingent
c/o Prince, Schmidt, Korte and Baca  detious
. Unliquidated
2905 Rodeo Park Dr. East, Building 2
Santa Fe, NM 87505 i pisputed
Date(s) debt was incurred 6/2017 Basis for the claim: Personal injury claim
Last 4 digits of account number _ is the claim subject to offset? Ml no D1 yes
3.3 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
ee a See fai at: a Contingent
c/o Pierre Levy o riel and Lev
vy y B Untiquidated
PO Box 2084
Santa Fe, NM 87504 B Disputed
Date(s) debt was incurred _ Basis for the claim: Breach of Employment Contract Claim
Last 4 digits of account number _ Is the claim subject to offset? Mi No O Yes
3.4 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Church of Ascension @ contingent
2150 Raymac SW Bi vcticy
Unliquidated
Albuquerque, NM 87105 “
Date(s) debt was incurred _ Shp
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is lhe claim subject to offset? Bno Oves
Official Form 206E/F Schedule E/F; Creditors Who Have Unsecured Claims page 1 of 24

Solware oA 'TOMSOLPALT “"DOET4B Filed 04/01/19 Enteréf"04/01/19 16:05:23 Page 2 of Ze"
Roman Catholic Church of the Archdiocese of Santa

Fe

“Name

Nonpriority creditor's name and mailing address

Church of the Incarnation
2309 Monterrey Road NE
Rio Rancho, NM 87144

Date(s) debt was incurred _
Last 4 digits of account number _

3.6 Nonpriority creditor's name and mailing address

Claimant C.M.
Tinkler Law Firm
309 Johnson Street
Santa Fe, NM 87501

Date(s) debt was incurred _
Last 4 digits of account number _

Case number (it known) 18-13027

 

As of the petition filing date, the claim is: Check ail that apply. Unknown
a Contingent

B unliquidated

ia Disputed

Basis for the claim: Indemnification/Contribution

Is the claim subject to offset? Byo Oves

As of the petition filing date, the claim is: Check ail that apply. $100,000.00
a Contingent

a Unliquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

(s the claim subject to offset? Hino Oves

 

 

[3.7 | Nonpriority creditor's name and mailing address

Claimant D.G.
Tinkler Law Firm
309 Johnson Street
Santa Fe, NM 87501

Date(s) debt was Incurred _
Last 4 digits of account number _

As of the petition filing date, the claim Is: Check af that apply $100,000.00
a Contingent

8 Uniiquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml no OO) ves

 

Official Form 206 E/F

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Nonpriority creditor's name and mailing address

Claimant J.N.

Tinkler Law Firm

309 Johnson Street
Santa Fe, NM 87501
Date(s) debt was incurred __

Last 4 digits of account number _

3.9 Nonpriority creditor's name and mailing address

Claimants

c/o Tinkler Law Firm
309 Johnson Street
Santa Fe, NM 87501

Date(s) debt was incurred _
Last 4 digits of account number _

Nonpriority creditor's name and mailing address

Cristo Rey Parish
1120 Canyon Road
Santa Fe, NM 87501

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check ail that apply. $100,000.00

a) Contingent
B Uniiquidated
a Disputed

Basis for the claim: Abuse Claim against Debtor, Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

Is the claim subject to oftset? Ml no O ves

As of the petition filing date, the claim is: Check-all hat apply. $100,000.00
a Contingsnt
i Uniiquidated

g Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml no Olyves

As of the petition filing date, the claim is: Check ail that apply. Unknown
Bi contingent

B Unliquidated

a Disputed

Basis for the claim:_Indemnification/Contribution

Is the claim subject to offset? Ml No C1 Ves

Schedule E/F; Creditors Who Have Unsecured Claims Page 2 of 24
Roman Catholic Church of the Archdiocese of Santa

Debtor Fe
Name

3.11 | Nonpriority creditor's name and mailing address

Diocese of Gallup
503 W Highway 66
Gallup, NM 87301

Date(s) debt was incurred 5/2016
Last 4 digits of account number _

Gase number (if known)

18-13027

 

As of the petition filing date, the claim is: Check all that apply.
CO) Contingent

O Unliquidated

O Disputed

$40,000.00

Basis for the claim: _Pledged amount paid over a five year period

's he claim subject to offset? Bno DOves

 

 

 

 

 

 

 

 

 

 

| 3.12 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is; Check aif that apply. Unknown
Emma Banuelos i contingent
240 County Road 303 Bl veticui
Seminole, TX 79360 aa
i pisputed
Date(s) debt was incurred 3/2018
Last 4 digits of account number Basis for the claim:_Personal injury claim
is the claim subject to oftset? Ml No C1 ves
[3.13 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply _ Unknown
Sigel Valley Catholic Parish @ contingent
BOX 128 I Unliquidatea
Moriarty, NM 87035 a
Date(s) debt was incurred _ papas’
Last 4 digits of account number Basis for the claim: _Indemnification/Contribution
is the claim subject to ofset? Mi No O ves
3.14 _| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is! Check all thal apply. Unknown
Hilda oe 4 & contingent
121 Tafoya Roa Bl Untau
Belen, NM 87002 - aes
Date(s) debt was incurred 9/2018 Dieputen
Last 4 digits of account number _ Basis for the claim: Personal injury claim
Is the claim subject to offset? Ml No 01 Yes
| 3.15 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply, Unknown
Sea eater Bi contingent
ox BB vito
Tijeras, NM 87059 . Unliuicaine
Date(s) debt was incurred _ Rispated
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Ml no OClyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. ; Unknown
Holy Cross a Contingent
PO Box 1228 OF iaviaanda
Santa Cruz, NM 87567 - Ruguige!
Date(s) debt was incurred _ Unpaped
Last 4 digits of account number Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? Ml No O Yes
3.17 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply, Unknown
Holy Family Wi contingent
PO Box 12127 BF Uniiquidated
Albuquerque, NM 87195 - ae
Date(s) debt was incurred _ Disputed
Last 4 digits of account number Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? Mi No O yas
Schedule E/F: Creditors Who Have Unsecured Claims Page 30f 24

Official Form 206 E/F

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Roman Catholic Church of the Archdiocese of Santa

Case number (it known) 18-13027

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Fe
Name
3,18 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Holy Family - Chimayo IB Contingent
PO Box 235 MH Uniiquidated
Chimayo, NM 87522 " a
Date(s) debt was incurred _ Eaepuice
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? Ml no O ves
| 3.19 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Holy Family - St. Joseph B contingent
PO Box 37 Bock
Roy, NM 87743 Unliquidated
3
i] 7
Date(s) debt was incurred _ Disputed
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
is the claim subject to offset? Ml No 0 Yes
| 3.20 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $10,000.00
Holy Family Church OD Contingent
355 Chicosa Street D unjiquidated
Roy, NM 87743 OD Disputed
Date(s) debt was incurred 6/2010 Basis for the claim:_Pledged funds for capital projects
Last 4 digits of account number _
Is the claim subject to offset? Mo Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Gheck all that apply. Unknown
Holy Ghost @ contingent
833 Arizona Street SE Bh into:
Unliquidated
Albuquerque, NM 87108 a
Date(s) debt was incurred _ apes
Last 4 digits of account number _ Basis for the claim: Indemnification/Contribution
is the claim subject to offset? Ml No C1 ves
[3.22 _| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Immaculate Conception i contingent
619 Copper Avenue NW fal
Albuquerque, NM 87102 - Welk etatee
Date(s) debt was incurred _ Dieputed
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
is the claim subject to oftset? Ml No O Yes
[3.23 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Immaculate Conception - Cimarron Wl Contingent
440 W. 18th Street BB Uniiquidated
Cimarron, NM 87714 = a
Date(s) debt was incurred __ Oleputed
Last 4 digits of account number _ Basis for the claim: Indemnification/Contribution
is the claim subject to offset? Ml No O1 Yes
| 3.24 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Immaculate Conception - Las Vegas i Contingent
811 6th Street Wl Unliguidsted
Las Vegas, NM 87701 - ea
Date(s) debt was incurred __ Disputed
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Ml No O) ves
Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 24

Official Form 206 E/F

Soltware Coppin 9E3201 9eyE PEE HLG MMA Filed 04/01/19 Entered 04/01/19 16:05:23 Page 5 0f 26
Roman Catholic Church of the Archdiocese of Santa

Debtor Fe
Name

3.25 Nonpriority creditor's name and mailing address
Immaculate Conception - Tome
PO Box 100
Tome, NM 87060

Date(s) debt was incurred 2008
Last 4 digits of account number __

Case number ((! known) 18-13027

 

As of the petition filing date, the claim Is: Check all thal apply $50,000.00
CO Contingent

0 Untiquidated

0 Disputed

Basis for the claim: Pledge to Meadow Lake Mission to purchase five

acres of land_

is the claim subject to offset? Ml No OO Ves

 

[3.26 Nonpriority creditor's name and mailing address
Immaculate Heart of Mary
3700 Canyon Road
Los Alamos, NM 87544

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check ail that apply, Unknown
i) Contingent

Bi Uniiquidated

a Disputed

Basis for the claim:_Indemnification/Contribution

Is the claim subject to offset? Bno Oves

 

3.27 | Nonpriority creditor's name and mailing address
Jane Doe "I"
c/o Brad D. Hall
320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102
Date(s) debt was incurred _

Last 4 digits of account number _

[3.28 | Nonpriority creditor's name and mailing address

Jane Doe "L"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check. all that apply. $100,000.00
a Contingent

B Uniiquidatea

a Dispuled

Basis for the claim: Abuse Claim against Debtor, Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No Ol ves

 

As of the petition filing date, the claim is: Check all that apply. $100,000.00

a Contingent
Wi Untiquidated
iat) Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No C1 yes

 

3.29 | Nonpriority creditor's name and mailing address
Jane Doe "M"
c/o Brad D. Hall
320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102
Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the clalm is: Check af that apply, $100,000.00

a Contingent
a Unliquidated
fal Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Mi No (1 yes

 

3.30 | Nonpriority creditor's name and mailing address
Jane Does "G, 1, Land M"
c/o Brad D. Hall
320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

Official Form 206 E/F

As of the petition filing date, the claim is: Check ail that apply. _ $100,000.00
a Contingent

BB unliquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No O] Yes

 

Schedule E/F: Creditors Who Have Unsecured Claims Page 5o0f 24

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Roman Catholic Church of the Archdiocese of Santa

Fe

Name

3.31 | Nonpriority creditor's name and mailing address

John Doe

c/o Merit Bennett

460 St. Michael's Drive, Ste 703
Santa Fe, NM 87505

Date(s) debt was incurred _

Last 4 digits of account number _

3.32 | Nonpriority creditor's name and mailing address

John Doe "67"

Claimants c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

Case number (if known) 18-13027

$100,000.00

As of the petition filing date, the clalm is: Gheck all thar apply.
I contingent

IB Uniiquidated

i pisputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

{s the claim subject to offset? Mino Oves

As of the petition filing date, the claim is: Check all that apply, $100,000.00
a Contingent
a Unliquidated

@ pisputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Bwo Oves

 

3.33 Nonpriority creditor's name and mailing address

John Doe "69"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply, = $100,000.00
a Contingent

B Uniiquidated

a Disputed

Basis for the claim:_ Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No DO ves

 

| 3.34 | Nonpriority creditor's name and mailing address

John Doe "70"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred __
Last 4 digits of account number _

As of the petition filing date, the claim is: Ghee all that apply $100,000.00
i Contingent

a Unliquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No O1 yes

 

| 3.35 | Nonpriority creditor's name and mailing address

John Doe "71"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. $100,000.00
contingent

B Unliquidated

m Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Mi No O Yes

 

Official Form 206 E/F

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Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 24
Roman Catholic Church of the Archdiocese of Santa

Fe

Name

3.36 | Nonpriority creditor's name and mailing address

John Doe "73"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

Case number (it known) 4 8-13027

As of the petition filing date, the claim Is: Check ail that apply. $100,000.00
a Contingent

B unliquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

ls. the claim subject to offset? Byo Oves

 

Nonpriority creditor's name and mailing address

John Doe "74"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. $100,000.00
a Contingent
a Unliquidated

Bi pisputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Ml No O1 yes

 

3.38 Nonpriority creditor's name and mailing address

John Doe "76"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. $100,000.00
a Contingent

a Unliquidated

 pisputed

Basis for the claim: Abuse Claim against Debtor, Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Bno Oves

 

Nonpriority creditor's name and mailing address
John Doe "77"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred =

Last 4 digits of account number _

As of the petition filing date, the claim is: Check aif that apply. $100,000.00
a Contingent

 Uniiquidatea

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No O1 Yes

 

3.40 Nonpriority creditor's name and mailing address

John Doe "78"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Checiail that apply. ____ $100,000.00
a Contingent

L Unliquidated

Mi pisputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only_

ls the claim subject to offset? Mino Oves

 

Official Form 206 E/F

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Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 24
Roman Catholic Church of the Archdiocese of Santa

Debtor Fe
Name
[3:41 | Nonpriority creditor's name and mailing address
John Doe "79"
c/o Brad D, Hall
320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was Incurred _

Last 4 digits of account number _

Case number (il known) 18-13027

 

As of the petition filing date, the claim is: Check all that apply. $100,000.00
a Contingent

IB Uniiquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Ml no Ol ves

 

3.42 Nonpriority creditor's name and mailing address
John Doe "80"
c/o Brad D. Hall
320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. $100,000.00
Qo Contingent

BB Uniiquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No O ves

 

3.43 Nonpriority creditor's name and mailing address
John Doe "82"
c/o Brad D. Hall
320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102
Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply, $100,000.00
I contingent

B Uniiquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Hl No O yes

 

3.44 | Nonpriority creditor's name and mailing address
John Doe "83"
c/o Brad D. Hall
320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102
Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check alf that apply. $100,000.00
i contingent

ve Unliquidated

I Disputed

Basis forthe claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

ls the claim subject to offset? Bno Oves

 

Nonpriority creditor's name and mailing address
John Doe °84"
c/o Brad D. Hall
320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred __
Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. $100,000.00
Bi contingent

a Unliquidated

a Dispuled

Basis for the clam: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? ME No (Yes

Official Form 206 E/F Schedule E/F:; Creditors Who Have Unsecured Claims Page Sof 24

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Debtor

Roman Catholic Church of the Archdiocese of Santa

Fe

Name

[3.46 | Nonpriority creditor's name and mailing address

John Doe "87"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was Incurred

Last 4 digits of account number _

Case number (i known) 18-13027

 

As of the petition filing date, the claim is: Check all that apply. $100,000.00
a Contingent

il Unliquidated

Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No Clves

 

/3.47 | Nonpriority creditor's name and mailing address

John Doe "88"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

3.48 | Nonpriority creditor's name and mailing address

John Doe "90"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check alf thar apply. $100,000.00
a Contingent
i Unliquidated

ta Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Ml No Ol ves

As of the petition filing date, the claim is: Check aif that apply $100,000.00
| Contingent

BF Uniiquidated

Bi pisputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Mi No OO Yes

 

3.49 Nonpriority creditor's name. and mailing address

John Doe "91"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. $100,000.00
a Contingent

BB Untiquidated

ta) Disputed

Basis tor the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No D1 ves

 

3.50

Nonpriority creditor's name and mailing address

John Doe "92"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check all nat apply. $100,000.00

a Contingent
@ Uniiquidated
@ pisputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Hino Olves

 

Official Form 206 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Roman Catholic Church of the Archdiocese of Santa

Fe

Name

3.51 | Nonpriority creditor's name and mailing address

John Doe "93"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was Incurred _
Last 4 digits of account number _

Case number (it known) 18-1 3027—

 

As of the petition tiling date, the olalm is: Check ail that apply. $100,000.00
I Contingent

IB Untiquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Mno Oves

 

3.52 Nonpriority creditor's name and mailing address

John Doe "94"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

As of the petition filing date, the claim is: Check all hat apply. $100,000.00
@ Contingent

 Uniiquidatea

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only
Is the claim subject to offset? Ml No O1 ves

 

| 3.53 | Nonpriority creditor's name and mailing address

John Doe "96"

c/o Brad D. Hall

320 Gold Avenue, SW, Ste 1218
Albuquerque, NM 87102

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim Is: Cheek all that apply. $100,000.00
& Contingent

 Uniiquidated

BF pisputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml No O yes

 

3.54 | Nonpriority creditor's name and mailing address

John Doe 1, c/o Carolyn Nichols
Rothstein Donatelli, LLP
500 Fourth Street NW, Suite 400
Albuquerque, NM 87102

Date(s) debt was incurred _
Last 4 digits of account number _

3,55 _| Nonpriority creditor's name and mailing address

John Doe 2, c/o Carolyn Nichols
Rothstein Donatelli, LLP
500 Fourth Street NW, Suite 400
Albuquerque, NM 87102

Date(s) debt was incurred __
Last 4 digits of account number _

As of the petition filing date, the claim is: Check alf that apply. $100,000.00
a Contingent

 Untiquidated

@ pisputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

{s the claim subject to offsel? Mino Oyes

As of the petition filing date, the claim is: Check all that apply. $100,000.00
a Contingent

i Unliquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and

address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

is the claim subject to offset? Ml no O Yes

 

Official Form 206. E/F

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Schedule E/F: Creditors Who Have Unsecured Claims Page 10 of 24
Roman Catholic Church of the Archdiocese of Santa

Debtor Fe
Name
| 3.56 Nonpriority creditor's name and mailing address

John Doe 4, c/o Carolyn Nichols
Rothstein Donatelli, LLP
500 Fourth Street NW, Suite 400
Albuquerque, NM 87102

Date(s) debt was Incurred _
Last 4 digits of account number _

/3.57 | Nonpriority creditor's name and mailing address
John Doe 5, c/o Carolyn Nichols
Rothstein Donatelli, LLP

500 Fourth Street NW, Suite 400
Albuquerque, NM 87102

Date(s) debt was incurred _

Last 4 digits of account number _

Case number (it known) 18-13027

As of the petition filing date, the claim is: Check all that apply. $100,000.00
a Contingent

Bi Uniiquidatea

a Disputed

Basis for the clam: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Bno Oyes

As of the petition filing date, the claim is; Chee aif that apply. ___ $100,000.00
a Contingent

B Untiquidated

a Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount
reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Bno Oves

 

| 3.58 ‘| Nonpriority creditor's name.and mailing address

John Doe 6, c/o Carolyn Nichols
Rothstein Donatelli, LLP
500 Fourth Street NW, Suite 400
Albuquerque, NM 87102

Date(s) debt was incurred __
Last 4 digits of account number _

As of the petition filing date, the claim is: Cheetcall that apply. = $100,000.00
a Contingent
a Unliquidated

id Disputed

Basis for the claim: Abuse Claim against Debtor. Claimant's name and
address to be filed under seal, after appropriate motion. Amount

reported at $100,000.00 for purpose of these schedules only

Is the claim subject to offset? Hino Oves

 

3.59 | Nonpriority creditor's name and mailing address

La Santisima Trindad
PO Box 189
Arroyo Seco, NM 87514

Date(s) debt was incurred _
Last 4 digits of account number _

[3.60 Nonpriority creditor's name and mailing address

Lucy Brown
2808 Bellamah Drive
Santa Fe, NM 87507

Date(s) debt was incurred 9/2013
Last 4 digits of account number _

3.61 | Nonpriority creditor's name and mailing address
Madison Bartleson
c/o Prince, Schmidt, Korte and Baca
2905 Rodeo Park Dr. East, Building 2
Santa Fe, NM 87505
Date(s) debt was incurred 5/2017

Last 4 digits of account number _

As of the petition filing date, the claim is: Gheck aif that apply. _ Unknown
a Contingent

BF Unliquidated

a Dispuled

Basis for the claim:_Indemnification/Contribution

Is the claim subject to offset? Milo O Yes

As of the petition filing date, the claim is: Check ail that apply. Unknown
a Contingent

fl Unliquidated

ial Disputed

Basis for the claim: Personal injury claim

is the claim subject to offset? Mlno OO ves

As of the petition filing date, the claim is: Check ail hat apply. Unknown
a Contingent

a Unliquidated

Bi pisputed

Basis for the claim: Personal injury claim

is the claim subject to offset? Ml No Dyes

 

Official Form 206 E/F

Schedule E/F: Creditors Who Have Unsecured Claims Page 11 of 24

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Roman Catholic Church of the Archdiocese of Santa

Debtor Fe
Name
3.62 | Nonpriority creditor's name and mailing address
Marc Hilton
c/o Michael Danoff and Associates
1225 Rio Grande Blivd., NW
Albuquerque, NM 87104

Date(s) debt was incurred 2018

 

Last 4 digits of account number _

Case number (it known) 18-13027

 

As of the petition filing date, the claim is: Gheck ail that apply Unknown
B contingent

Wi unliquidated

Mm Disputed

Basis for the claim: Claim for wrongful termination

is the claim subject to offset? Mino DO ves

 

3.63 Nonpriority creditor's name and mailing address

N.S. de Guadalupe del Valle de Pojoaque
9 Grazing Elk Drive
Santa Fe, NM 87506-7140

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. Unknown
B contingent

Bi Untiquidated

disputed

Basis for the claim:_Indemnification/Contribution

Is the claim subject to offset? Bno Oves

 

3.64 | Nonpriority creditor's name and mailing address
Nativity of the Blessed Virgin Mary
9502 4th Street NW
Albuquerque, NM 87114

Date(s) debt was incurred _
Last 4 digits of account number _

Nonpriority creditor's name and mailing address
Nuestra Senora de Guadalupe
PO Box 1270
Pena Blanca, NM 87041

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. Unknown
contingent

 Untiquidated

fail Dispuled

Basis for the claim: _Indemnification/Contribution

Is the claim subject to offset? Mino OClyes

As of the petition filing date, the claim is: Check ai hat apply. Unknown
B contingent

BB Uniiquidated

8 Disputed

Basis for the claim: Indemnification/Contribution

Is the claim subject to offset? Ml No O ves

 

3.66 | Nonpriority creditor's name and mailing address

Nuestra Senora de Guadalupe - Taos
205 Don Fernando Street
Taos, NM 87571

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. =. Unknown
dl Contingent

BF Uniiquidated

@ pisputed

Basis for the claim: Indemnification/Contribution

is the claim subject to offset? Mi No O) Yes

 

| 3.67 Nonpriority creditor's name and mailing address
Our Lady of Belen
101 - A North 10th Street
Belen, NM 87002

Date(s) debt was incurred _
Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. Un known
a Contingent

Bi unliquidated

B pisputed

Basis for the claim: _Indemnification/Contribution

Is the claim subject to offset? Mil No Dyes

 

[3.68 Nonpriority creditor's name and mailing address

Our Lady of Fatima
4020 Lomas Bivd. NE
Albuquerque, NM 87110

Date(s) debt was incurred __

Last 4 digits of account number _

As of the petition filing date, the claim is: Check all that apply. Unknown
a Gontingent

a Unliquidated

@ pisputed

Basis for the claim;_Indemnification/Contribution

Is the claim subject to offset? Bno Oves

Official Farm 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 12 of 24

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Roman Catholic Church of the Archdiocese of Santa

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Fe Case number (it known) 18-13027
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Checs all that apply. Unknown
Our ay of ~~ Ube I Contingent
acon NM 87107 MF Uniiquidated
Date(s) debt was incurred _ BF Disputed
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
ls the claim subject to offset? a No O yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply Unknown
Our Lady of Guadalupe - Clovis B contingent
108 North Davis Street WH Uniquidated
Clovis, NM 88101
Date(s) debt was Incurred _ Bi Disputes
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
Is the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply, Unknown
Sue ley - Guadalupe - Peralta i contingent
Peralta, NM 87042 Mi Linicudrtatod
Date(s) debt was incurred _ - slspued
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
{s the claim subject to offset? Mino Oves
[3.72 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Ghack all that apply. Unknown
ati ar Guadalupe - Villanueva i contingent
Villanueva, NM 87583 BF Uniiquidated
Date(s) debt was incurred _ @ bisputed
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
ls the claim subject to offset? Bwo Oves
[3.73 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply, Unknown
Our Lady of Lavang i contingent
1015 Chelwood Park NE iB r
Albuquerque, NM 87112 Uniquanetsd
Date(s) debt was incurred _ a Digpoted
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
ls the claim subject lo offset? Mno Oves
[3.74 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Our Lady of Sorrows - Bernalllo BH Contingent
Pea Bx BOF BB Uniiquidated
Bernalillo, NM 87004
Date(s) debt was incurred _ Bi oisputed
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
is the claim subject to offset? Mi No C1 yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply, Unknown
Our Lady of Sorrows - La Joya i Contingent
POBox sé Bi Unliquidated
La Joya, NM 87028
Date(s) debt was incurred _ = piepiied
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Hino Oves
Schedule E/F; Creditors Who Have Unsecured Claims Page 13 of 24

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Roman Catholic Church of the Archdiocese of Santa

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Deblor Fe Case number (i! known) 18-13027
Name 7
3.76 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all (hat apply. Unknown
Our Lady of Sorrows ~ Las Vegas & contingent
ee et res D unliquidated
as Vegas, C1 disputed
Date(s) debt was incurred . ; .
(s) = Basis for the claim:_Indemnification/Contribution
Last 4 digits of account number _
Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Our Lady of the Annunciation i contingent
2532 Vermont St. NE BBY ricsciteeae
Albuquerque, NM 87110 oo ”
Disputed
Date(s) debt was incurred _ ae
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? Ml wo Dyes
| 3.78 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Our ae of eaten B® contingent
811 Guaymas Place fal
Unliquidated
Albuquerque, NM 87108 a 4
Disputed
Date(s) debt was incurred _ meus
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
ls the claim subject to offset? Byno Ores
3.79 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Our pay of the Assumption i Contingent
Jemez Springs Cn
Unliquidated
PO Box 10 ma
Jemez Springs, NM 87025-0010 i Disputed
Date(s) debt was incurred _ Basis for the claim:_Indemnification/Contribution
Last 4 digits of account number _ is the claim subject to offset? Ml No O Yes
3.80 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Our Lady of the Most Holy Rosary I contingent
5415 Fortuna Road NW Bl Vinieuiaated
Albuquerque, NM 87105 = "
isputed
Date(s) debt was Incurred _ uel
Last 4 digits of account number Basis for the claim: _Indemnification/Contribution
Is the claim subject to offset? Mino Oves
3.81 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Prince of Peace Catholic Community BH contingent ——
12500 Carmel Avenue NE WB tikiesiaciss
Albuquerque, NM 87122 > q
isputed
Date(s) debt was incurred _ Dispute
Last 4 digits of account number Basis for the claim: Indemnification/Contribution
is the claim subjectio offset? Ml No Dyes
3.82 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Queen of Heaven @ contingent
5311 Phoenix Avenue NE BD iiivaicnie
Albuquerque, NM 87110 = 3
Date(s) debt was incurred _ rbd sagas
Last 4 digits of account number Basis for the claim: _Indemnification/Contribution
is the claim subject to offset? Mino O ves
Schedule E/F: Creditors Who Have Unsecured Claims Page 14 of 24

Official Form 206 E/F

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Roman Catholic Church of the Archdiocese of Santa

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Fe Case number (i known) 18-13027 :
Name
3.83 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all (hat apply Unknown
Risen Savior Catholic Community IB contingent
ing Blvd. NE
7701 Wyoming Blvd Ml Uniiquidated
Albuquerque, NM 87109 "
isput
Date(s) debt was incurred _ ipo
Last 4 digits of account number_ Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Mino Oves
3.84 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Ruben Ortiz B contingent
Michael Ross, Elias Law Firm, P.C. a ;
_ Unliquidated
111 Isleta Bivd. SW, Suite A
Albuquerque, NM 87105 @ disputed
Date(s) debt was incurred 11/2018 Basis for the claim: Personal Injury Claim
Last 4 digits of account number _ is the claim subject to offset? Mino Olves
| 3.85 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thal apply. Unknown
Rudy Blea ety ia B contingent
i ‘Friel and Lev .C,
c/o Pierre Levy, O V;  Uniiquidated
644 Don Gaspar Avenue
Santa Fe, NM 87505 B disputed
Date(s) debt was incurred _ Basis for the claim: Tort Claim - Defamation of Character
Last 4 digits of account number _ Is the claim subject to otiset? Ml no 1 ves
3,86 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Sacred Heart B contingent
412 Stover Avenue SW Bains
Unliquidated
Albuquerque, NM 87102 5
Date(s) debt was incurred _ Eras
Last 4 digits of account number_ Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Bio Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is; Check all that apply. Unknown
Sacred Heart - Clovis Wl contingent
911 N. Merriwether Street Wi uincusnea
Clovis, NM 88101 = q
Date(s) debt was incurred _ Disputed
Last 4 digits of account number _ Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? Ml No C1 Yes
3.88 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Sacred Heart - Espanola Bi Contingent
PO Box 69 i Untiquidated
Espanola, NM 87532 . a
Date(s) debt was incurred _ Diep
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? Mil No OO Yes
[3.89 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cheek all that apply. _ Unknown
Saint John XXII Catholic Community Bi contingent
Ridge Drive, NE
4831 Tramway Ridg , BB Uniiquidated
Albuquerque, NM 87111 a
Date(s) debt was incurred _ Pepuies
Last & digits of account number _ Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? Ml No C1 Yes
Schedule E/F; Creditors Who Have Unsecured Claims Page 15 of 24

Official Form 206 E/F

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Roman Catholic Church of the Archdiocese of Santa

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Deblor Fe Case number (ir known) 18-13027
“Name =
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
San Antonio de Padua @ contingent
PO Boxago 4 Unliquidated
Penasco, NM 87553-0460 =
Date(s) debt was incurred _ re tee
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Ml No O yes
3.1 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
San Clemente B contingent
PO Box 147 a
liquidated
Los Lunas, NM 87031 s sain isiabe
Date(s) debt was incurred _ Digputed
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? Ml No O Yes
| 3.92 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
San Diego Mission i contingent
PO Box 79 a
Unliquidated
Jemez Pueblo, NM 87024 7 Nae
t
Date(s) debt was incurred _ puted
Last 4 digits of account number Basis for the claim: _Indemnification/Contribution
is the claim subject to offset? Ml no O1 yes
3.93 | Nonprlority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
San Felipe de Neri @ Contingent
PO Box 7007 a
Unliquidated
Albuquerque, NM 87194 = nae
Date(s) debt was incurred _ Miepuied
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Byo Oves
3.94 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is; Check all that apply, Unknown
San Francisco de Asis i contingent
PO Box 72 fl
liquidated
Ranchos De Taos, NM 87557 = Unliquida
Date(s) debt was incurred _ Disputed
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Ml No O1 Yes
3.95 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
San Ignacio Bi contingent
1300 Waler Street NE
a Unliquidated
Albuquerque, NM 87102 =
d
Date(s) debt was incurred _ pigiee
Last 4 digits of account number Basis for the claim;_Indemnification/Contribution
\s the claim subject to offset? Ml no Ol ves
3.96 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown

San Isidro
3552 Aqua Fria Street
Santa Fe, NM 87507

Date(s) debt was incurred _

Last 4 digits of account number _

4 Contingent

B Unliquidated

a Disputed

Basis for the claim:_Indemnification/Contribution

is the claim subject to offset? Ml No Ol yes

 

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Schedule E/F: Creditors Who Have Unsecured Claims

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Roman Catholic Church of the Archdiocese of Santa

Case number (it known) 18-13027

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Fe
“Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail thal apply. Unknown
San Jose Fe] Contingent
2401 Broadway Blvd. SE Bion
Unliquidated
Albuquerque, NM 87102 2
i I
Date(s) debt was incurred _ ane
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Bwo Oves
| 3.98 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
San Jose - Anton Chico B contingent
PO Box 99 Hw
p liquidated
Anton Chico, NM 87711 ss Maria
isput
Date(s) debt was incurred _ ENeputed
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Mico Oves
| 3.99 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
San Jose - Los Ojos B contingent
PO Box 6 A
: Unliquidated
Los Ojos, NM 87551 = niyiscete
i h
Date(s) debt was incurred _ Riepiient
Last 4 digits of account number Basis for the claim: _Indemnification/Contribution
is the claim subject to offset? Ml No O1 Yes
| 3.100 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cheek all that apply. Unknown
San Juan Bautista i Contingent
PO Box 1075 nl
‘ liquidated
Ohkay Owingeh, NM 87566 = Unica
Date(s) debt was incurred __ Eispuied
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? Hl No O Yes
3.101 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
San Juan Nepomuceno @ contingent
PO Box 7 ha
: fiqui
El Rito, NM 87530 = ia al
Date(s) debt was incurred _ Rivpited
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Milo O) Yes
3.102 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif ihat apply. Unknown
San Miguel t B contingent
403 El Camino Real Street NW ia
a Unliquidated
Socorro, NM 87801 =
Date(s) debt was incurred __ Repuled
Last 4 digits of account number Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? Mino Oyes
3.103 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. : Unknown

San Miguel del Vado
PO Box 507
Ribera, NM 87560

Date(s) debi was incurred _

Last 4 digits of account number _

Official Form 206 E/F

a Contingent

a Unliquidated

a Disputed

Basis for the claim:_Indemnification/Contribution

Is the claim subject to offset? Hino Oves

 

Schedule E/F: Creditors Who Have Unsecured Claims

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Sommers OARS PSAP SIOLTAT “EETFS Filed 04/01/19 Entered 04/01/19 16:05:23 Page 18°6f 26-6”
Roman Catholic Church of the Archdiocese of Santa

18-13027

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 206 E/F

| 3.110 | Nonpriority creditor's name and mailing address

Shrine of Our Lady of Guadalupe - SF
417 Aqua Fria Street
Santa Fe, NM 87501

Date(s) debt was incurred __

Last 4 digits of account number _

a Contingent

g Unliquidated

B pisputed

Basis for the claim: _Indemnification/Contribution

is the claim subject to offset? Mi No 11 Yes

Debtor Fe Case number (it known) :
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Sec aes @ contingent
Corrales, NM 87048 Bi Uniquidated
Date(s) debt was incurred _ i Disputed
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Bno Oves
[3.105 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. _ Unknown
Sangre de Cristo I Contingent
8901 Candelaria Road NE 1 -
Albuquerque, NM 87112 Unliquiceted
Date(s) debt was incurred _ 7 Deputy
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Bno Oves
[3.106 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check al that apply. Unknown
Santa Clara ® contingent
Foy NON B7T 43 B Uniiquidated
Date(s) debt was incurred _ B Disputed
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
Is the claim subject to offset? Bno DO ves
[3.107 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Santa Maria de La Paz Catholic Community HH contingent
venue
santa re am 87508 BM Uniiquidated
Date(s) debt was incurred _ Mi visputed
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
Is the claim subject to offset? Bno Oves
[3.108 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Santo Nino - Tierra Amarilla J contingent
str ansaid, NM 87575 BF Uniiquidated
Date(s) debt was incurred _ = Graputed
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
Is the claim subject to offset? Ml no O ves
[3.109 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al! that apply. Unknown
Santuario San Martin de Porres i contingent
8321 Camino San Martin SW BS uniiquidted
Albuquerque, NM 87121
Date(s) debt was incurred _ = Diepulsd
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
is the claim subject to offset? MI No 11 yes
As of the petition filing date, the claim is: Check ail that apply. Unknown

 

Schedule E/F: Creditors Who Have Unsecured Claims

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Software CeeMeRRS) *PRS2T SSPE HEELS Filed 04/01/19 Entered 04/01/19 16:05:23 Page 19 6f 26
Roman Catholic Church of the Archdiocese of Santa

 

18-13027

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Fe Case number (i! known)
Name
Bn | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cheek af! that apply Unknown.
Shrine of St. Bernadette @ contingent
11509 Indian Schoo! Road NE BB rica
Unliquidated
Albuquerque, NM 87112 .
Date(s) debt was incurred _ oe hae
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
!s the claim subject to offsel? Bno Oves
3.112 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Shrine of the Little Flower Contingent
St. Teresa of the Infant Jesus 8 vitiquidsied
300 Mildred Avenue NW ies
Albuquerque, NM 87107  bisputed
Date(s) debt was Incurred _ Basis for the claim: _Indemnification/Contribution
Last 4 digits of account number _ Is the claim subject to offset? Ml No O yes
3.113. | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
St. Alice a Gontingent
PO Box 205  Uniiquidated
Mountainair, NM 87036 = 4
Date(s) debt was incurred _ puis
Last 4 digits of account number Basis for the claim: Indemnification/Contribution
{s the claim subject to offset? Mino Oves
Nonpriority areditor's name and mailing address As of the petition filing date, the claim is! Check all thal apply. Unknown
St. Anne Wi contingent
1400 Arenal Road SW OF Untiquzated
Albuquerque, NM 87105 = ue
Date(s) debt was incurred __ Pispuise
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? MlNo O Yes
3.11 5 Nonpriority creditor's name and mailing address As of the petition filing date, the claim |s: Gheck ail that apply. Unknown
St. Anne - Tucumcari I contingent
306 West High WS catntasen
Tucumcari, NM 88401 = ene
Date(s) debt was incurred _ Draputed
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Myo Oves
| 3.116 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
St. Anne's B contingent
511 Alicia Street Wl (hilguidatad
Santa Fe, NM 87501 7 eo
Date(s) debt was incurred __ Bape
Last 4 digits of account number Basis for the claim: Indemnification/Contribution
Is the claim subject to offsel? Mino Oves
3,117 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cheek ail that apply. __ Unknown
St. Anthony - Dixon BI contingent
PO Box 39 WS iniinuiaetoa
Dixon, NM 87527 = Leal co
Date(s) debt was incurred _ Riepunert
Last 4 digits of account number Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? Mino O ves
Schedule E/F: Creditors Who Have Unsecured Claims Page 19 of 24

Official Form 206 E/F

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Roman Catholic Church of the Archdiocese of Santa

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Fe Case number (\! known) 18-13027
Name.
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply, Unknown
a ee ~ Questa & Contingent
OX 8 vetaui
Untiquidated
Questa, NM 87556 = q
Disputed
Date(s) debt was incurred _ ‘sp
Last 4 digits of account number Basis for the claim:_Indemnification/Contributio
Is. the claim subject to offset? Bno Oves
3.119 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al! that apply. Unknown
St. Anthony of Padua - Fort Sumner I Contingent
PO Box 370 ages
Unliquidated
Fort Sumner, NM 88119 = q
Disputed
Date(s) debt was incurred _ ‘sp
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Ml No O ves
3.120 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check all that apply. Unknown
St. Anthony of Padua - Pecos @ contingent
HC 74, Box 23 nic
Unliquidated
Pecos, NM 87552 . ‘
Disputed
Date(s) debt was incurred _ isp
Last 4 digits of account number Basis for the claim: _Indemnification/Contribution
\s the claim subject to offset? til No [1 Yes
3.124 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
St. Augustine @ contingent
PO Box 849 uni
Unliquidated
Isleta, NM 87022 = 9
Disputed
Date(s) debt was incurred _ apes
Last 4 digits of account number Basis for the claim: Indemnification/Contribution
is the claim subject to offset? Ml No O1 yes
| 3.122 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
St. Charles Bi contingent
1818 Coal Place SE a :
Unliquidated
Albuquerque, NM 87106 2 "
Disputed
Date(s) debt was incurred _ ree
Last 4 digits of account number _ Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? Ml No O yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al! that apply. Unknown
St. Edwin @ contingent
2105 Barcelona Road SW 8 viniiquissted
Albuquerque, NM 87105 i
Disputed
Date(s) debt was incurred _ ne
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
Is the claim subject to offset? Myo Oves
3,124 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. _ Unknown
St. Francis Xavier I Contingent
820 Broadway Bivd. SE a
Unliquidated
Albuquerque, NM 87102 - a
Disputed
Date(s) debt was incurred _ bi
Last 4 digits of account number _ Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? Mino Oyes
Schedule E/F: Creditors Who Have Unsecured Claims Page 20 of 24

Official Form 206 E/F

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Roman Catholic Church of the Archdiocese of Santa

 

 

 

 

 

 

 

 

 

 

 

Deblor Fe Case number (if known) 18-1 3027
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all thal apply. Unknown
St. Francis Xavier - Clayton i contingent
115 North ist Street MH Uniiquidated
Clayton, NM 88415
Date(s) debt was incurred __ 7 Olpiated
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
is the claim subject to offset? Ml No Ol Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail (hat apply, Unknown
St. Gurtrude the Great Bi contingent
flora NM a77a2 B Uniiquidatea
Date(s) debt was incurred _ B disputes
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? Ml No Ol ves
[3.127 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
St. Helen B contingent
1600 South Avenue O Wl Uniiquidatea
Portales, NM 88130
Date(s) debt was incurred _ 7 uted
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? Ml No OO Yes
[3.128 | Nonpriority creditor's name and mailing address As of the petition filing date, the clalm is: Check all that apply, Unknown,
St. John the Baptist - Santa Fe Bi contingent
1
a, te arnOw B Uniiquidated
Date(s) debt was incurred _ i Cisputes
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? Ml No 01 Yes
[3.129 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
St. John Vianney Church Wl Contingent
1001 Meteor Avenue NE WF Uniquidated
Rio Rancho, NM 87144
Date(s) debt was incurred _ : Dieputed
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
Is the claim subject to offset? Mno Oves
[3.130 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ali that apply. Unknown
St. Joseph i contingent
PO Boxaid | Unliquidated
Springer, NM 87747
Date(s) debt was incurred __ 7 iaputeg
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
|s the claim subject to offset? Bno Oves
As of the petition filing date, the claim is: Check all thal apply. Unknown

3.131 | Nonpriority creditor's name and mailing address

St. Joseph - Cerrillos
PO Box 98
Cerrillos, NM 87010

Date(s) debt was incurred _

Last 4 digits of account number _

Official Form 206 E/F

a Contingent

 Uniiquidated

a Disputed

Basis for the claim:_Indemnification/Contribution

Is the claim subject to offset? Myo Oves

Schedule E/F: Creditors Who Have Unseoured Claims

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Sotware Cepvepald) SEP-FSPYD PSEC “ENYIL>EAB’ Filed 04/01/19 Entered 04/01/19 16:05:23 Page 22020
Roman Catholic Church of the Archdiocese of Santa

Case number (it known) 18-13027

 

 

 

 

 

 

 

 

 

 

 

 

 

Deblor Fe
Name
| 3.192 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
St. Joseph on the Rio Grande i Contingent
5901 St. Joseph Drive NW
BB Uniiquidated
Albuquerque, NM 87120 s
Date(s) debt was incurred _ Heya
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? MI No O] ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
St. Jude Thaddeus i contingent
5712 Paradise Blvd. NW o
Unliquidated
Albuquerque, NM 87114 7
Date(s) debt was incurred _ Disputed
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Ml No O) Yes
| 3.134 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
a oa: B contingent
PO Box 276 a
iquid
Vaughn, NM 88353 = vgiueaie’
Date(s) debt was incurred _ Disputed
Last 4 digits of account number Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? a No DO Yes
3.135 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail thal apply. Unknown
od Patrick - Chama Bi contingent
Box 36 B
Chama, NM 87520 > Dalguicieten
Date(s) debt was incurred __ Disputed
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Ml No O Yes
3.136 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
St. Patrick - St. Joseph Bi contingent
105 Buena Vista Street “y
Raton, NM 87740 ured
i
a 5
Date(s) debt was incurred _ Disputed
Last 4 digits of account number Basis for the claim:_Indemnification/Contribution
is the claim subject to offset? Ml no Ol ves
| 3.137 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Chack all that apply. Unknown
St. Rose of Lima i contingent
439 South 3rd Street WW liacatudiod
Santa Rosa, NM 88435 = pee
Date(s) debt was incurred __ Risputed
Last 4 digits of account number Basis for the claim: _Indemnification/Contribution
is the claim subject to offset? Ho (1 yes
| 3.138 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cheek all that apply. Unknown

St. Thomas Aquinas
1502 Sara Road SE
Rio Rancho, NM 87124

Date(s) debt was incurred _

Last 4 digits of account number _

Official Form 206 E/F

Sotware Cepeee PETS TTTE OT LS Filed 04/01/19 Entered 04/01/19 16:05:23 Page 23°0f 26

(el Contingent

@ Uniiquidated

Hf pisputed

Basis for the claim: _Indemnification/Contribution

is the claim subject to offset? Mi No O ves

Schedule E/F: Creditors Who Have Unsecured Claims

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Bankruptcy
Roman Catholic Church of the Archdiocese of Santa

 

 

 

 

 

 

 

 

 

Debtor Fe Case number (if known) 18-13027
Name
3.139 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
St. Thomas Aquinas University Parish contingent
1815 Las Lomas Road NE OU iidieridaind
Albuquerque, NM 87106 a -_—_
Date(s) debt was incurred _ miybad
Last 4 digits of account number _ Basis for the claim: _Indemnification/Contribution
Is the claim subject to offset? Mino Oves
3.140 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cheek all that apply. Unknown
St. Thomas the Apostle i contingent
PO Box 117 @ vntiquigated
Abiquiu, NM 87510 = a
Date(s) debt was incurred _ Dispoted
Last 4 digits of account number _ Basis for the claim: Indemnification/Contribution
Is the claim subject to offset? Hino Oves
| 3.141 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. _ Unknown
The Cathedral Basilica of St. Francis @ contingent
PO Box 2127 WB iintaviesion
Santa Fe, NM 87504 cs
Date(s) debt was incurred _ Cispuped
Last 4 digits of account number _ Basis for the claim:_Indemnification/Contribution
Is the claim subject to offset? Mo Ol ves
3.142 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Thomas Paickattu a Contingent
c/o Andrew Indahl, Altura Law Firm BH Uniiquidated
500 Marquette Drive NW, Ste. 1200 aa
Albuquerque, NM 87102 @ Disputed
Date(s) debt was incurred _ Basis for the claim: Tort Claim - Defamation of Character
Last 4 digits of account number _ is the claim subject to offset? Mi Nc D1 Yes
3.143 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all ihat apply. $51,736.56
United States Conf. of Catholic Bishops 1 Contingent
3211 Fourth Street NE 0 unliquidated
Washington, DC 20017-1194 O pisputed

Date(s) debt was incurred _2018-2019
Last 4 digits of account number SFE

Basis tor the claim: Catholic Bishop Conferences

is the claim subject to offset? Ml No C1 Yes

 

(GEE List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities thal may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

{tno others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

 

5a, Total claims from Part.1
5b, Total claims from Part 2

5c. Total of Parts 1 and 2
Lines 5a + 5b = 5c.

 

 

 

Name and mailing address On which line in Parti or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any
(GETZ Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims,
Total of claim amounts

5a, $ 0.00

5b. + $ —__-3,751,736.56

5c. $ 3,751,736.56

Schedule E/F: Creditors Who Have Unsecured Claims Page 23 of 24

Official Form 206 E/F

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Roman Catholic Church of the Archdiocese of Santa

 

 

Debtor Fe Case number (i known) 18-1 3027
Name
Official Form 206 E/F Schedule E/F; Creditors Who Have Unsecured Claims Page 24 of 24

Bankruptcy

Somare CDEP FEA ISZETLL "POTS Filed 04/01/19 Entered 04/01/19 16:05:23 Page 25'0t 26
Fill inthis information to identify the case,

Debtorname Roman Catholic Church of the Archdiocese of Santa Fe

United States Bankruptcy Court for the: DISTRICT OF NEW MEXICO

Case number(itknown) 18-13027
C1 Check if this is an

amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors —_izs

An Individual who Is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that Is not Included In the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the Identity of the document,

and the date. Bankruptcy Rules 1008 and 9011.

WARNING ~ Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result in fines up to $600,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,

1519, and 3671.

ir Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor In this case.

 

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B; Assets—Resl and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule E/F

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
Other document that requires a declaration Amended Summary of Assets and Liabilities

BOgsgOoooooo

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 3/30/. vf 9 x Ze
f Signatyrs | of individual signing on behalf of debtor

Tony Salgado
Printed name

Executive Director of Finance

 

Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
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